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O PS 8
(3/15)


                                UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON
                                                               for
                                             Eastern District of Washington
                                                                                                   Jul 18, 2024
                                                                                                      SEAN F. MCAVOY, CLERK




U.S.A. vs.                   Strode, Michael Robert                         Docket No.         0980 1:24CR02044-MKD-1


                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW, Linda J. Leavitt, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct
of defendant, Michael Robert Strode, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Alexander C. Ekstrom, sitting in the Court at Yakima, Washington, on the 1st day of July 2024, under the following
conditions:

Standard Condition #6: Defendant shall report to the United States Probation/Pretrial Services Office before or immediately
after release and shall report as often as they direct, at such times and in such manner as they direct.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

On July 2, 2024, the conditions of pretrial release supervision were reviewed and signed by Mr. Strode, acknowledging an
understanding of his conditions.

Violation #2: Mr. Strode is in violation of his pretrial supervision by failing to make contact or report to the probation office
as directed since July 16, 2024.

On July 11, 2024, this officer received a call from Merit Resource Services (Merit) advising Mr. Strode attended his
substance use disorder assessment, however, was not forthcoming regarding his drug addiction and stated he did not need
substance abuse treatment.

Based on the above information, this officer made telephone contact with Mr. Strode on July 15, 2024, to discuss why he
was not forthcoming with the treatment provider at Merit so he could be accurately assessed. According to Mr. Strode, he
had a follow up appointment at Merit on July 18, 2024, and he would be honest with the counselor.

On July 16, 2024, this officer attempted to make telephone contact with Mr. Strode between 8 a.m and 5 p.m, leaving
numerous voice messages and sending text messages asking Mr. Strode to report to the probation office on July 17, 2024,
for a random drug test. Mr. Strode failed to respond. This officer made telephone contact with Mr. Strode's roommate who
confirmed Mr. Strode was still residing in the home and he would pass the message on to him to report to the probation office
by 9 a.m. on July 17, 2024.

On July 17, 2024, Mr. Strode failed to report to the probation officer, and did not return this officer's attempts at contact.
This officer again attempted to contact Mr. Strode on his listed cellular telephone and sent several text messages without
a response. This officer made telephone contact with Mr. Strode's employer. Per Mr. Strode's employer, they have been
friends since 2009. He stated he spoke to Mr. Strode on July 16, 2024, and he was making arrangements for someone to take
care of his dog as he was "going to jail." Mr. Strode's employer stated he would call him immediately and have him report
to the probation office. Mr. Strode failed to report.

As of the submission of this report, Mr. Strode has failed to report or contact this officer since July 16, 2024. His
whereabouts is unknown.

PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE-NOTED VIOLATION WITH THE PETITION
                              PENDING BEFORE THE COURT
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  Re: Strode, Michael Robert
  July 18, 2024
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                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:         July 18, 2024
                                                            by        s/Linda J. Leavitt
                                                                      Linda J. Leavitt
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[X]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                       July 18, 2024
                                                                        Date
